Case 2:19-cv-00152-JRG Document 341 Filed 03/08/21 Page 1 of 9 PageID #: 14852




                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION

 SOLAS OLED LTD., §

              Plaintiff, §

 v. § CIVIL ACTION NO. 2:19-CV-00152-JRG

 SAMSUNG DISPLAY CO., LTD., §
 SAMSUNG ELECTRONICS CO., LTD., §
 SAMSUNG ELECTRONICS AMERICA, §
 INC.,                               §

              Defenda ts. §

                                VERDICT FORM

       In answering the following questions and completing this Verdict Form, you

 are to follow all the instructions I have given you in the Court s Final Jury

Instructions. Your answers to each question must be unanimous. Some of the

 questions contain legal terms that are defined and explained in detail in the Final

Jury Instructions. You should refer to and consider the Final Jury Instructions as you

 answer the questions in this Verdict Form.
Case 2:19-cv-00152-JRG Document 341 Filed 03/08/21 Page 2 of 9 PageID #: 14853




 As used herein, the following terms have the following meanings:


    • Solas refers to Solas OLED Ltd.

    • “Samsung refers collectively to Samsung Electronics Co., Ltd., Samsung
       Electronics America, Inc., and Samsung Display Co., Ltd.

    • The “ 450 Patent refers to U.S. Patent No. 6,072,450.

    • The “ 338 Patent refers to U.S. Patent No. 7,446,338.

    • The “’311 Patent refers to U.S. Patent No. 9,256,311.

    • The “Patents-in-Suit refers collectively to the ’450 Patent, the ’338 Patent,
       and the ’311 Patent.

    • The “Asserted Claims refers collectively to Claims 4 and 5 of the ’450 Patent,
       Claims 5 and 9 of the ’338 Patent, and Claims 7 and 12 of the ’311 Patent.




                                         2
Case 2:19-cv-00152-JRG Document 341 Filed 03/08/21 Page 3 of 9 PageID #: 14854




  IT IS VERY IMPORTANT THAT YOU FOLLOW THE
 INSTRUCTIONS PROVIDED IN THIS VERDICT FORM.




          READ THEM CAREFULLY AND
   ENSURE YOUR VERDICT COMPLIES WITH THEM.




                                      3
Case 2:19-cv-00152-JRG Document 341 Filed 03/08/21 Page 4 of 9 PageID #: 14855




 QUESTION NO. 1:



 Did Solas prove by a preponderance of the evidence that Samsung infringed ANY

 of the Asserted Claims?




       Yes:                No:




                                       4
Case 2:19-cv-00152-JRG Document 341 Filed 03/08/21 Page 5 of 9 PageID #: 14856




 QUESTION NO. 2;



 Did Samsung prove by clear and convincing evidence that any of the following

 Asserted Claims are invalid?

 Check either Yes or “No for each Asserted Claim listed below:


            Claim 4 of the 450 Patent         Yes: Z No:

            Claim 5 of the 450 Patent         Yes: /       No:

            Claim 7 of the ’311 Patent        Yes:       No:

            Claim 12 of the ’311 Patent       Yes: No:




                                          5
Case 2:19-cv-00152-JRG Document 341 Filed 03/08/21 Page 6 of 9 PageID #: 14857




 If you answered NO to Question No. 1, OR YES to BOTH CLAIMS of the
  311 Patent listed in Question 2, then DO NOT ans er Question No. 3.

 Answer Question No. 3 ONLY as to any Asserted Claim of the ’311 Patent that
 you have found BOTH to be infringed AND not invalid.




 QUESTION NO. 3



 Did Solas prove by a preponderance of the evidence that Samsung willfully infringed

 ANY of the Asserted Claims of the 311 Patent that you found were infringed?




       Yes:               No:




                                         6
Case 2:19-cv-00152-JRG Document 341 Filed 03/08/21 Page 7 of 9 PageID #: 14858




 If you answered NO to Question No. 1, then DO NOT answer Question No. 4a
 or Question No. 4b.

 Answer Question No. 4a and 4b ONLY as to an Asserted Claim that you have
 found BOTH to be infringed AND (if applicable) not invalid.



 QUESTION NO. 4a:



 What sum of money, if any, paid now in cash, has Solas proven by a preponderance

 of the evidence would compensate Solas for its damages resulting from

 infringement?

 Answer separately for each Patent-in-Suit in United States Dollars and Cents, if any:




  450                Patent                           $        0.00



 ’338                      Patent                                $          3




  311                       Patent                                    $




                                          7
Case 2:19-cv-00152-JRG Document 341 Filed 03/08/21 Page 8 of 9 PageID #: 14859




QUESTION NO. 4b:

Are each of the amounts you awarded in Question No. 4a a lump-sum representing

damages for past and future sales, or are each of the amounts you awarded in

 Question No. 4a a running royalty representing damages through January 2021?




       Check one of the following:




                                          Lump Sum

                                             OR

                                             Running Royalty




                                         8
Case 2:19-cv-00152-JRG Document 341 Filed 03/08/21 Page 9 of 9 PageID #: 14860




                      FINAL PAGE OF JURY VERDICT FORM

       You have now reached the end of the Verdict Form and should review it to

 ensure it accurately reflects your unanimous determinations. The Jury Foreperson

 should then sign and date the Verdict Form in the spaces below. Once this is done,

 notify the Court Security Officer that you have reached a verdict. The Jury

 Foreperson should keep the Verdict Form and bring it when the jury is brought back

 into the courtroom.



 Signed this   i-U,    day ofMarch, 2021.




                               Jury Foreperson




                                         9
